


  Per Curiam.
 

  Thomas Justin Moore III was admitted to practice by this Court in 2015 and lists a business address in Richmond, Virginia with the Office of Court Administration. Moore now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Moore’s application.
 

  Upon reading Moore’s affidavit sworn to September 15, 2017 and filed October 18, 2017, and upon reading the December 6, 2017 correspondence in response by the Chief Attorney for AGC, and having determined that Moore is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
 

  Peters, P.J., Garry, Rose, Clark and Aarons, JJ., concur.
 

  Ordered that Thomas Justin Moore Ill’s application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further ordered that Thomas Justin Moore Ill’s name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further ordered that Thomas Justin Moore III is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Moore is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further ordered that Thomas Justin Moore III shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.
 
